O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the

                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No: 5:99CR71
                       James Fitzgerald Bellamy
                                                                            )   USM No: 15153-058
Date of Previous Judgment:            12/21/04                              )   Norman Butler
(Use Date of Last Amended Judgm ent if Applicable)                          )   Defendant’s Attorney


                      Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of               months is reduced to                                    .



REASON FOR DECISION:


In the Court's discretion, the sentence of the Defendant will not be reduced due given Defendant’s significant
criminal history and his supervisory role in a violent drug conspiracy. See 18 U.S.C. § 3553(a)(1) and 18 U.S.C.
§ 3553(a)(2)(B) and (C).




IT IS SO ORDERED.


                                                                                     Signed: March 16, 2009




                    Case 5:99-cr-00071-KDB                      Document 280             Filed 03/17/09   Page 1 of 1
